            Case 1:12-cr-00038-AWI-BAM Document 86 Filed 08/23/12 Page 1 of 2



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 6 United States of America

 7

 8                             IN THE UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                             CASE NO. Cr 1:12-cr-00038 AWI-DLB
12                                Plaintiff,
                                                           STIPULATION REGARDING
13                 v.                                      EXCLUDABLE TIME PERIODS
                                                           UNDER SPEEDY TRIAL ACT;
14   KEVIN SPENCER,                                        [PROPOSED] FINDINGS AND ORDER
15                                Defendant.
16

17
                                               STIPULATION
18

19          Plaintiff United States of America, by and through its counsel of record, and defendant, by

20 and through his counsel of record, hereby stipulate as follows:

21          1.      By previous order, this matter was set for a status conference on Monday, August 27,
22 2012, at 1:00 p.m.
23
            2.      By this stipulation, the government now moves to continue the status conference date,
24
     as to this defendant only, to September 4, 2012, at 10:00 a.m. for a change of plea and to exclude
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     time between August 27, 2012, and September 4, 2012. Plaintiff concurs in this request.
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27          3.      The parties agree and stipulate, and request that the Court find the following:

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                             Case 1:12-cr-00038-AWI-BAM Document 86 Filed 08/23/12 Page 2 of 2


                              a.    The parties need the time to and through September 4, 2012, to prepare, review, and
 1
     execute a plea agreement.
 2

 3                            b.    Based on the above-stated findings, the ends of justice served by continuing the case

 4 as requested outweigh the interest of the public and the defendant in a trial within the original date

 5 prescribed by the Speedy Trial Act.

 6
                              d.    For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et
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     seq., within which trial must commence, the time period of August 27, 2012, to September 4, 2012,
 8
     inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A).
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10                            4.    Nothing in this stipulation and order shall preclude a finding that other provisions of

11 the Speedy Trial Act dictate that additional time periods are excludable from the period

12 within which a trial must commence.

13 IT IS SO STIPULATED.

14

15 DATED:                           August 21, 2012.       Respectfully submitted,

16                                                         BENJAMIN B. WAGNER
                                                           United States Attorney
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18                                                         /s/ Karen A. Escobar___________________
                                                           KAREN A. ESCOBAR
19                                                         Assistant United States Attorney

20
     DATED:                         August 21, 2012.
21
                                                           /s/ Eric Fogderude _____________
22                                                         ERIC FOGDERUDE
                                                           Counsel for Defendant
23
     IT IS SO ORDERED.
24

25                         Dated:   August 23, 2012                                /s/ Dennis L. Beck
     DEAC_Signature-END:
                                                                       UNITED STATES MAGISTRATE JUDGE
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     3b142a
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